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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION


APRIL MARIE WALKER ET AL                               CASE NO. 2:21-CV-00923

VERSUS                                                 JUDGE JAMES D. CAIN, JR.

MOTOROLA MOBILITY L L C ET AL                          MAGISTRATE JUDGE KAY


                                     NOTICE OF MOTION SETTING

        Please take notice that the Motion to Dismiss for Failure to State Claim (Document No. 67) filed by
A T & T Mobility L L C, Cellular Telecommunications & Internet Association, Cricket Wireless L L C, H
M D Global OY, Microsoft Mobile Inc, Motorola Inc, Motorola Mobility L L C, Motorola Solutions Inc on
October 17, 2022 has been referred to the Honorable James D. Cain, Jr. for consideration on or after the
next regular motion date, which is November 30, 2022. The motion date is used by the Court for tracking
purposes and does not guarantee the motion will be considered on this date. A written ruling will be issued
in due course.

                                                   Deadlines

        Any party who opposes the motion may file a memorandum in opposition within twenty-one (21)
days after service of the motion. See LR 7.5. The movant may file a reply within seven (7) days after the
memorandum in opposition is filed. Reply memoranda are limited to 7 pages. Leave of
court will be required to file any additional briefs. OPPOSITION TO THE MOTION MUST BE FILED
TIMELY OR THE MOTION WILL BE CONSIDERED UNOPPOSED.

                                              No Oral Argument

        It is the policy of the Court to decide motions on the basis of the record without oral argument.
Briefs should fully address all pertinent issues. All parties will be notified if the Court finds oral argument
is necessary.

                                       Courtesy Copies Not Required

        The parties are relieved of their obligation under LR 7.1 to provide chambers with courtesy copy of
the briefs and any attachments filed in connection with this motion.


DATE OF NOTICE: October 18, 2022

                                             TONY R. MOORE
                                             CLERK OF COURT
